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                                             July 23, 2024



    Via Electronic Case Filing

   Lyle W. Cayce
   Clerk of Court, U.S. Court of Appeals for the Fifth Circuit
   F. Edward Hebert Building
   600 S. Maestri Place
   New Orleans, LA 70130-3408

          Re:    Rule 28(j) Response in Favre v. Sharpe, No. 23-60610 (argued July 9, 2024
   before Southwick and Duncan, JJ., and Kernodle, DJ.)

    Dear Mr. Cayce:

         I write in response to appellant’s Rule 28(j) letter discussing Amin v. NBCUniversal
   Media LLC, 2024 WL 3188768 (S.D. Ga. June 26, 2024).

           Amin provides no support for Favre’s arguments. In explaining its conclusion that
   statements that the plaintiff was a “uterus collector” were not rhetorical hyperbole, the court
   emphasized the “context” in which those statements were made: multiple pieces of serious
   investigative reporting by NBC and MSNBC regarding reports of mass, unconsented-to
   hysterectomies performed on detained women. Id. at *17. The court noted that although the
   challenged statements “could be construed as absurdist, even comical” in other contexts, the
   speaker delivered them “emotionally and seriously,” and “NBC treated the statements with equal
   gravitas.” Id. at *17. The court also described the extensive research and approval process
   conducted by NBC before publishing the at-issue statements in four separate broadcasts. Id. at
   *3-4.

            Here, the relevant “context”—a sports debate show segment in which Sharpe used over-
   the-top, figurative terms to express his views on facts reported by Mississippi Today—makes
   clear that Sharpe’s statements about “stealing” were not factual assertions. Moreover, the Amin
   court found that the “undisputed evidence” established that numerous facts reported by NBC
   were “verifiably false.” Id. at *16. By contrast, Favre does not dispute the facts reported by
   Mississippi Today or any statements in the challenged broadcast aside from Sharpe’s three non-
   literal references to “stealing” or “taking.” Sharpe Br. 10, 12, 30, 48. The contrast between
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Amin and this case only reinforces that Sharpe’s statements are constitutionally protected
rhetorical hyperbole.

        Favre also references Cianci v. New Times Pub. Co., 639 F.2d 344 (2d Cir. 1980). Cianci
is discussed in Favre’s reply brief (Reply 8) and is therefore not the proper subject of a Rule
28(j) letter. Regardless, Cianci does not support Favre’s arguments. Cianci involved a seven-
page article containing highly specific accusations of criminal conduct—including details of an
alleged rape, lie-detector results, and other “items of evidence in [a] police file”—which implied
“the scuttling of a well-founded criminal charge by buying off the victim.” Id. at 60, 64. Cianci
bears no resemblance to this case.

                                                     Sincerely,

                                                     /s/ Joseph M. Terry

                                                     Joseph M. Terry



cc:    All counsel of record
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                                 CERTIFICATE OF SERVICE

        I, Joseph M. Terry, counsel for Shannon Sharpe and a member of the Bar of this
Court, certify that, on July 23, 2024, a copy of the foregoing letter was filed with the Clerk and
served on the parties through the Court’s electronic filing system. I further certify that all parties
required to be served have been served.

                                                               /s/ Joseph M. Terry
                                                               Joseph M. Terry

July 23, 2024
